Case 2:05-cr-20020-.]DB Document 19 Filed 08/17/05 Page 1 of 2 Page|D 24

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE mg mm w m Q' 58
Western Division " v

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UNITED STATES OF AMERICA fccij
-vs- Case No. 2: 05ci'20020-B

JEFFREY P. DALLAS

 

ORDER APPOINTING COUNSEL PURSUANT 'I`O
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this l § day of August,

M

`TU M. PHAM
UNITED sTATEs MAGISTRATE JUDGE

2005.

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
lntake

JEFFREY P. DALLAS

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20020 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Pamela B. Harnrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

